Case: 4:19-cv-00429-JCH Doc.#: 35 Filed: 10/03/19 Page: 1 of 2 PagelD #: 241

UNITED STATES DISTRICT COURT EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION
Case No. 4:19-cv-00429-JCH

ENERGIZER BRANDS II LLC,
ENERGIZER HOLDINGS, INC.,
ENERGIZER MANUFACTURING,

INC. and AMERICAN COVERS, LLC,
Plaintiffs,
Vv.

PARADISE AIR FRESH, LLC, MARC
FUNDERLICH, and RYAN SIMONS,

Defendants.
/

 

DECLARATION OF RYAN SIMONS IN SUPPORT OF MOTION TO DISMISS FIRST
AMENDED COMPLAINT

I, Ryan Simons, declare as follows:

1. The statements herein are based on my personal knowledge.

2. I was employed by California Scents, LLC, which was acquired by American
Covers, Inc., which subsequently became American Covers, LLC (collectively, American
Covers, Inc., and American Covers, LLC will be referred to as “American Covers”), which was
later acquired by Energizer Holdings, Inc. I ended my employment in June 2017.

a I lived in Pennsylvania and Florida, and worked in Pennsylvania and Florida
while I was employed by the companies listed in paragraph 2.

4, During my employment with the companies listed in paragraph 2, I travelled to
Missouri only once in September 2016 for less than one week.

De During my employment with the companies listed in paragraph 2, my only work-

related activity in Missouri was a September 2016 trip for less than one week.
1

 
Case: 4:19-cv-00429-JCH Doc. #: 35 Filed: 10/03/19 Page: 2 of 2 PagelD #: 242

6. After American Covers was acquired by Energizer Holdings, Inc., my paychecks
were sent from Draper, Utah.

7. During my employment with the companies listed in paragraph 2, I participated
on phone calls that included persons from multiple states and multiple countries.

8. In August 2017, I formed Paradise Air Fresh, LLC with Marc Funderlich.

9. Since Paradise Air Fresh, LLC’s formation, I have not travelled to Missouri.

10. Paradise Air Fresh, LLC has no offices in Missouri, has never sold any products
in Missouri, and never conducted any business in Missouri.

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

Executed on October 3", 2019 in M actia Coun % Fleada,

( Lyon Cama
Ryan Simons

 
